              Case 5:07-cr-00021-WTM-JEG Document 71 Filed 06/30/08 Page 1 of 2


                                                                     'I        FILED
                                                                          Hr           rOL'RT


                                                                       2088 JUN 30 PM 3: 00
                                   IN THE UNiTED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OLcRGIA
                                            WAYCROSS DIVISION      SO. 01ST. OF GA.




             UNITED STATES OF AMERICA

                                                                          CASE NO.: CR507-021
                             V.

             ARMAUND J. SIMS
             BRIAN L. RAULS
             URIELAMAYA, JR.



                           MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                       Defendant Brian Rauls ("Rauls") filed a Motion to Dismiss Counts of the

             Indictment, as amended. Rauls contends the Government will proceed as to Counts 1

             and 2 against him based solely on the uncorroborated testimony of one of Rauls' co-

             defendants. Rauls also contends the indictment fails to sufficiently allege that his

             possession of a firearm helped, furthered, promoted, or advanced any drug trafficking.

             The Government asserts the indictment is legally sufficient, charges the elements of the

             offenses as required, and is supported by the grand jury's finding of probable cause to

             indict.

                       'The indictment or information must be a plain, concise, and definite written

             statement of the essential facts constituting the offense[sl charged . . . It need not

             contain a formal introduction or conclusion." FED. R. CRIM. P. 6(c)(1). A review of the

             superseding indictment reveals the Government has satisfied this basic showing.




AO 72A
(Rev. 882)
               Case 5:07-cr-00021-WTM-JEG Document 71 Filed 06/30/08 Page 2 of 2




              Rauls' contentions do not address the allegations contained in the indictment. Rather,

              Rauls' allegations speak to the sufficiency of the evidence Rauls asserts the

              Government will proffer at trial. Rauls' Motion to Dismiss Counts of the Indictment, as

              amended, should be DENIED.

                    SO REPORTED and RECOMMENDED, this 3 ' day of June, 2008.




                                                         MES E. GRAHAM
                                                        NITED STATES MAGISTRATE JUDGE




AU 72A
(Rev. 8182)
